                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________


No. 25-1004                                                 September Term, 2024
                                                                               CFIUS-24-088
                                                                               CFIUS-24-154
                                                   Filed On: April 11, 2025 [2110614]
United States Steel Corporation, et al.,

               Petitioners

        v.

Committee on Foreign Investment in the
United States, et al.,

               Respondents

        BEFORE:      Millett, Pillard, and Childs, Circuit Judges

                                           ORDER

     Upon consideration of the government’s consent motion to hold this case in
abeyance, it is

      ORDERED that the motion be granted. This case is hereby removed from the
May 12, 2025 oral argument calendar and is held in abeyance pending further order of
the court.

        The parties are directed to file motions to govern further proceedings by June 5,
2025.

                                        Per Curiam

                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk
